Case 1:15-cv-06209-JBW-RLM Document 31 Filed 01/05/17 Page 1 of 1 PageID #: 241
  ROANNE L. MANN                                        DATE:     Jan.S.JZOlT
  UNITED STATES MAGISTRATE JUDGE                        START:
                                                        END:


 DOCKET NO:        15-CV-6209(JEW)

  CASE:             Reed v. Dept. of Education of the City of NY. et al.
  □ INITIAL CONFERENCE                           □ OTHER/ORDER TO SHOW CAUSE
  □ DISCOVERY CONFERENCE                         □ FINAL/PRETRIAL CONFERENCE
      SETTLEMENT CONFERENCE                      □   TELEPHONE CONFERENCE
  □ MOTION HEARING                               □   INFANT COMPROMISE HEARING

  PLAINTIFF                                             ATTORNEY




  DEFENDANT                                             ATTORNEY

                                                  tJLiJ-eJl
                                                  VATeX


  □           DISCOVERY TO BE COMPLETED BY

  □   NEXT                       CONFERENCE SCHEDULED FOR

  □ JOINT PRE-TRIAL ORDER TO BE FILED VIA ECF BY
  □ PL. TO SERVE DEF. BY:                        DEF. TO SERVE PL. BY:


  RULINGS: PLEASE TYPE THE FOLLOWING ON DOCKET SHEET




cU^ dLo-^                                            ^
qZHZl a.                                                                   "Ai
